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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

U.S. BANK NATIONAL ASSOCIATION,                 §
NOT IN ITS INDIVIDUAL CAPACITY                  §
BUT SOLELY AS TRUSTEE FOR THE                   §
RMAC TRUST, SERIES 2016-CTT,                    §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §          Civil Action No. 4:20-cv-00856
                                                §
JONATHAN CORTEZ, RITZA                          §
CORTEZ ANDERSON, JOSE GARCIA,                   §
JASSON PEC, AND JULIO CORTEZ,                   §
                                                §
        Defendants.                             §

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff U.S. Bank National Association, not in its individual capacity but solely as

Trustee for the RMAC Trust, Series 2016-T (“U.S. Bank” or “Plaintiff”) files this Notice of

Voluntary Dismissal Without Prejudice (“Notice”) pursuant to Rule 41 of the Federal Rules of

Civil Procedure, and shows the Court as follows:

       1.      On March 10, 2020, Plaintiff filed its Original Complaint (“Complaint”) against

Defendants Jonathan Cortez, Ritza Cortez Anderson, Jose Garcia, Jasson Pec, and Julio Cortez

(“Defendants”) to obtain an order authorizing foreclosure of Plaintiff’s security interest on the

real property located at 11502 Larkdale, Houston, TX 77099 . (ECF No. 1.)

       2.      Despite being duly served, no appearance and/or answer has been filed by

Defendants. On December 14, 2021, Plaintiff filed its Motion for Default against Defendants.

(ECF No. 21). The court has yet to rule on Plaintiff’s Motion for Default. Accordingly, with the

filing of this Notice of Dismissal without prejudice, Plaintiff respectfully requests the court to

withdraw Plaintiff’s Motion for Default Judgment (ECF No. 21.).


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       3.      Plaintiff no longer wishes to pursue its claims for foreclosure against Defendants.

Accordingly, it files this Notice, pursuant to Rule 41 (a)(1)(A)(i) of the Federal Rules of Civil

Procedure. Plaintiff files this Notice before Defendants filed an answer or motion for summary

judgment. As such, Plaintiff voluntarily dismisses the claims it has asserted herein against

Defendants without prejudice to the re-filing of the same.

       4.      This dismissal will finally dispose of all parties and all claims. Defendants will

not be prejudiced by this voluntary dismissal.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests the

Plaintiff’s claims against Defendants Jonathan Cortez, Ritza Cortez Anderson, Jose Garcia,

Jasson Pec, and Julio Cortez be dismissed without prejudice, that no prejudice attach to such

dismissal, and that Plaintiff be awarded all other relief to which Plaintiff may be entitled.

                                                   Respectfully submitted,

                                                   By: /s/ Mark D. Cronenwett
                                                       MARK D. CRONENWETT
                                                       Texas Bar No. 00787303
                                                       Southern District Bar No. 21340
                                                       mcronenwett@mwzmlaw.com

                                                   MACKIE WOLF ZIENTZ & MANN, P. C.
                                                   14160 North Dallas Parkway, Suite 900
                                                   Dallas, TX 75254
                                                   Telephone: 214-635-2650
                                                   Facsimile: 214-635-2686

                                                   ATTORNEYS FOR PLAINTIFF




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